         Case 4:20-cv-00271-BRW Document 15 Filed 05/07/20 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION


 LESLIE BARTOLOMEI

            Plaintiff,
                                                      No. 4:20-cv-271-BRW
                v.

 NATIONAL REPUBLICAN
 CONGRESSIONAL COMMITTEE, et al.

            Defendants.


  JOINT MOTION TO STAY CASE PENDING THE OUTCOME OF Barr v. American
                    Association of Political Consultants

       Defendants, the National Republican Congressional Committee (“NRCC”), WinRed

Services, LLC (“WinRed”), and Plaintiff Leslie Bartolomei move that this case be stayed pending

the Supreme Court’s resolution of Barr v. American Association of Political Consultants, Inc., No.

19-631 (U.S.) (argument held May 6, 2020) and, in support, state:

       1.      Plaintiff filed an Amended Complaint on March 27, 2020 alleging violations of 47

U.S.C. § 227(b), the cellular autodialer ban, of the Telephone Consumer Protection Act (“TCPA”).

       2.      Defendant NRCC filed a motion to dismiss on May 4, 2020 arguing, inter alia, that

the government debt exception is a content-based speech restriction that is not severable from the

prohibition on autodialer cellular calls as a whole.

       3.      Defendant WinRed intends to file a motion to dismiss on May 19, 2020 raising,

inter alia, the same argument on constitutionality as the NRCC.

       4.      On May 6, 2020, the Supreme Court of the United States heard oral argument in

Barr v. American Association of Political Consultants, Inc., No. 19-631 (U.S.). The Barr case




                                                  1
         Case 4:20-cv-00271-BRW Document 15 Filed 05/07/20 Page 2 of 3



addresses the exact arguments of constitutionality and severability that were raised in NRCC’s

motion to dismiss and will be raised in WinRed’s motion to dismiss.

       5.      The issues of the constitutionality of 47 U.C.S. § 227(b) is directly at issue.

       6.      In the interest of judicial economy and to avoid needless expense should the

Supreme Court declare the cellular telephone autodialer ban at § 227(b)(1)(A) unconstitutional,

the parties jointly request a stay of all deadlines—with the exception of the filing of WinRed’s

motion to dismiss on or before May 19, 2020—pending resolution of Barr.

       7.      In the interest of uniformity and to allow Plaintiff an extended time to review both

motions to dismiss, WinRed will file their motion to dismiss on or before May 19, 2020 as provided

by Federal Rule of Civil Procedure 12.

       8.      Plaintiff shall not be required to respond to Defendants’ Motions to Dismiss, either

by filing an Opposition brief, or Amended Complaint until such time as the stay is lifted.

       Wherefore all parties pray that the Court grant this motion to stay pending the resolution

of Barr v. American Association of Political Consultants, Inc., No. 19-631 (U.S.).

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                                              And




                                                 2
Case 4:20-cv-00271-BRW Document 15 Filed 05/07/20 Page 3 of 3



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